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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




 United States of America,

                                    Plaintiff,

 v.                                                      Case No. 2:17−cr−20274−BAF−DRG
                                                         Hon. Bernard A. Friedman
 Jumana Nagarwala, et al.,
                                    Defendant(s),




                                 NOTICE OF MOTION HEARING

 PLEASE TAKE NOTICE OF THE FOLLOWING:

    NOTICE of IN PERSON hearing and **TIME CHANGE** on [469] SEALED MOTION to
 Suppress; [487] MOTION to Dismiss as to Jumana Nagarwala, Fakhruddin Attar, Farida Attar,
 Fatema Dahodwala. Motion Hearing REset for 9/15/2021 10:30 AM bef ore District Judge
 Bernard A. Friedman Courtroom 110 (JCur)

    All of the aforementioned Defendants are required to appear at the United States District
 Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
 Michigan. Please report to Room 110.




                                       Certificate of Service

    I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
 record were served.

                                                 By: s/J. Curry−Williams
                                                     Case Manager

 Dated: August 30, 2021
